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                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
                                CIVIL MINUTE ORDER

Case No.: 20-cv-03866-JCS               Case Name: ANTI POLICE-TERROR PROJECT v.
                                        CITY OF OAKLAND
Chief Magistrate Judge: JOSEPH          Date: June 18, 2020     Time: 1:00-1:36 = 36 M
C. SPERO

Attorney for Plaintiff: William Riley, Dan Siegal, Sonya Mehta, Elizabeth Johnson
Attorney for Defendant: David Pereda

Deputy Clerk: Karen Hom                               Court Reporter: Raynee Mercado

                             ZOOM WEBINAR PROCEEDINGS

1. Scheduling Conference - Held

                                ORDERED AFTER HEARING
The parties are to meet and confer to see if they can agree on a temporary TRO and advise the
Court as to the status by 4:00 PM today. Status update shall be emailed to
JCSPO@cand.uscourts.gov .

If the parties cannot agree on a temporary TRO, then the opposition brief shall be filed on
6/19/2020 by 1:00 PM.

NOTES:

CASE CONTINUED TO: 07/02/2020 at 11:00 AM for hearing on TRO or Preliminary
Injunction. Hearing will be via Zoom. Please consult Judge Spero’s web page for the Zoom
Webinar information.

REFERRALS:

[ ] Case referred to ADR for to occur within .
[ ] Case referred to (random) Magistrate Judge for a SETTLEMENT CONFERENCE to occur
within, or as is convenient to the judge's calendar.
[ ] Case referred to Magistrate Judge for a SETTLEMENT CONFERENCE to occur within or
as is convenient to the judge's calendar.

PRETRIAL SCHEDULE:
Initial Disclosures:
Number of Depos:
Discovery Cutoff:
Expert Disclosure:
Expert Rebuttal:
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Expert Discovery Cutoff:
Deadline to File Dispositive Motions:
Motions Hearing & Daubert Motions:             at 9:30 AM
Pretrial Conference:               at 2:00 PM
Trial:           at 8:30 AM for         days  [ ] Jury [ ] Court

Order to be prepared by:
[ ] Plaintiff    [ ] Defendant      [ ] Court
cc:
